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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                               MACON DIVISION

 IN RE:

 EARL LEKY LYONS,                                                  CHAPER 13 NO.
 SONYA DENISE LYONS,
     Debtors,                                                        17-51834-JPS

 EARL LEKY LYONS,
 SONYA DENISE LYONS,,
     Plaintiffs,
                                                                  ADVERSARY NO.
         v.
                                                                  17-5048
 GLENDA L. TAYLOR,
     Defendant.                                                   JUDGE SMITH


                       MOTION FOR SUMMARY JUDGMENT

       Plaintiff moves the Court pursuant to Federal Rule of Civil Procedure 56 and

Federal Rule of Bankruptcy Procedure 7056 for summary judgment in favor of Plaintiff on

the ground that there is no genuine issue as to any material fact and Plaintiff is entitled to

judgment as a matter of law, as appears from the pleadings, brief, and supporting materials

attached hereto.

       This 22nd day of December, 2017.


                                                      /s/ Daniel L. Wilder
                                                      DANIEL L. WILDER.
                                                      Attorney for Plaintiffs
                                                      State Bar No. 141448

LAW OFFICES OF EMMETT L. GOODMAN, JR., LLC
544 Mulberry Street, Suite 800
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                                                                  ADVERSARY NO.
         v.
                                                                  17-5048
 GLENDA L. TAYLOR,
     Defendant.                                                   JUDGE SMITH


                           BRIEF IN SUPPORT OF PLAINTIFF’S
                           MOTION FOR SUMMARY JUDGMENT

       Plaintiffs filed the instant complaint to determine extent of lien on the real property

owned by Plaintiffs with an address of 224 Collier Road, Barnesville, Lamar County, Georgia on

October 2, 2017. After service was perfected, Defendant filed her Answer on October 27, 2017.

The initial pre-trial conference was held on November 27, 2017 at which time Plaintiffs

expressed their intention to move forward with summary judgment on the title reversion issue

raised in Paragraph 6 of the complaint. Plaintiffs now file this their Motion for Summary

Judgment contending that they have made out a prima facie case establishing that title to the

property reverted to the Plaintiffs as a matter of law under O.C.G.A. § 44-14-80, and Plaintiff is

entitled to a judgment declaring that Defendant has no lien against Plaintiffs’ real estate.

       The issue raised is considered under substantive Georgia law which applies the same

summary judgment standard as do the federal courts. In considering motions for summary

judgment “…the moving party must demonstrate that there is no genuine issue of material fact
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and that the undisputed facts, viewed in the light most favorable to the nonmoving party, warrant

judgment as a matter of law. O.C.G.A. § 9-11-56(c).” Lau’s Corporation, Inc. v. Haskins, 261

Ga. 491, 405 S.E.2d 474 (1991). The trial court is required to construe the evidence and all

inferences and conclusions which can be drawn therefrom in favor of the party opposing the

motion. Moore v. Goldome Credit Corp., 187 Ga. App. 594, 595-596, 370 S.E.2d 843 (1988).

In order to prevail, the moving party must either (1) submit evidence which rebuts an essential

element of the other party’s case, or (2) show that there is an absence of evidence to support any

essential element of the other party’s case. Caven v. Warehouse Furnishings Distrib., 209 Ga.

App. 706, 434 S.E.2d 532 (1993). Once this burden has been discharged by the moving party,

the nonmoving party cannot rest upon its pleadings, but must present specific evidence giving

rise to a triable issue of fact. Speir v. Krieger, 235 Ga. App. 392, 397 (2), 507 S.E.2d 684

(1998).

          Pursuant to O.C.G.A. § 44-14-80(a)(1),

          Title to real property conveyed to secure a debt or debts shall revert to the
          grantor or the grantor's heirs, personal representatives, successors, and
          assigns as follows:

          (1) Title to real property conveyed to secure a debt or debts shall revert to
          the grantor or his or her heirs, personal representatives, successors, and
          assigns at the expiration of seven years from the maturity of the debt or
          debts or the maturity of the last installment thereof as stated or fixed in the
          record of the conveyance or, if not recorded, in the conveyance; provided,
          however, that where the parties by affirmative statement contained in the
          record of conveyance intend to establish a perpetual or indefinite security
          interest in the real property conveyed to secure a debt or debts, the title
          shall revert at the expiration of the later of (A) seven years from the
          maturity of the debt or debts or the maturity of the last installment thereof
          as stated or fixed in the record of conveyance or, if not recorded, in the
          conveyance; or (B) 20 years from the date of the conveyance as stated in
          the record or, if not recorded, in the conveyance;
          ….
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         provided, however, that foreclosure by an action or by the exercise of
         power of sale, if started prior to reversion of title, shall prevent the
         reversion if the foreclosure is completed without delay chargeable to the
         grantee or the grantee's heirs, personal representatives, successors, or
         assigns.
         Thus, the Court must simply examine the Deed to Secure Debt to determine whether

Plaintiffs’ claim succeeds or fails.

         Plaintiffs granted Defendant’s predecessor in title, John S. Taylor, a security interest /

lien in the real estate at 224 Collier Road, Barnesville, Lamar County, Georgia via a Deed to

Secure Debt recorded at Deed Book 540, Page 196, Superior Court of Lamar County. (Statement

of Uncontested Facts at 1).           A certified copy of said Deed to Secure Debt is attached to

Plaintiff’s Motion for Summary Judgment as Exhibit A.1 (Statement of Uncontested Facts at 2).

The Deed to Secure Debt reflects on its face that it was signed on August 2, 2005 and filed for

record on September 2, 2005. (Statement of Uncontested Facts at 3 referencing Deed at Para. 1).

The Deed to Secure Debt further reflects a stated maturity date, “the balance of the indebtedness,

if not sooner paid, [is] due and payable on August 29, 2008.” (Statement of Uncontested Facts at

4 referencing Deed at Para. 2). The Deed to Secure Debt does not contain a statement of

intention to establish a perpetual or indefinite security interest. (Statement of Uncontested Facts

at 5). Defendant’s interest in the Deed to Secure Debt arose by assignment recorded at Deed

Book 942, Page 174, Clerk’s Office, Superior Court of Lamar County. (Statement of

Uncontested Facts at 6). Since it has been over seven years from the maturity date of August 29,

2008 and there is no perpetual / indefinite savings clause in the deed, title reverted to Plaintiffs.

Defendant has no lien by direct application of O.C.G.A. § 44-14-80.




1
 The certified copy is admissible as a public record and self-authenticating pursuant to Federal Rule of
Evidence 902.
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       For all the foregoing reasons, and Plaintiff having shown the Court that no genuine issue

of material fact exists, Plaintiff respectfully asks that its Motion for Summary Judgment be

GRANTED.

       Respectfully submitted this 22nd day of December, 2017.

                                            /s/ Daniel L. Wilder
                                            Daniel L. Wilder
                                            State Bar No. 141448
                                            Attorney for Plaintiffs


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 EARL LEKY LYONS,
 SONYA DENISE LYONS,,
     Plaintiffs,
                                                              ADVERSARY NO.
       v.
                                                               17-5048
 GLENDA L. TAYLOR,
     Defendant.                                                JUDGE SMITH


                STATEMENT OF UNCOTESTED MATERIAL FACTS

      1.    Plaintiffs granted Defendant’s predecessor in title, John S. Taylor, a
            security interest / lien in the real estate at 224 Collier Road, Barnesville,
            Lamar County, Georgia via a Deed to Secure Debt recorded at Deed
            Book 540, Page 196, Superior Court of Lamar County. (Answer at 3
            admitting Complaint at 3 except the amount due to Defendant).

      2.    The Deed to Secure Debt at Deed Book 540, Page 196, Superior Court of
            Lamar County attached to the Motion for Summary Judgment as Exhibit
            A is a true and correct copy. (Self-authenticating public document, FRE
            902).

      3.    The Deed to Secure Debt reflects on its face that it was signed on August
            2, 2005 and filed for record on September 2, 2005. (Same, Para. 1).

      4.    The Deed to Secure Debt further reflects a stated maturity date, “the
            balance of the indebtedness, if not sooner paid, [is] due and payable on
            August 29, 2008.” (Same, Para. 2).

      5.    The Deed to Secure Debt does not contain a statement of intention to
            establish a perpetual or indefinite security interest. (Same).

      6.    Defendant’s interest in the Deed to Secure Debt arose by assignment
            recorded at Deed Book 942, Page 174, Clerk’s Office, Superior Court of
            Lamar County. (Answer at 4 admitting Complaint at 4)
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                                              /s/ Daniel L. Wilder
                                         DANIEL L. WILDER
                                         Attorney for Plaintiffs
                                         State Bar No. 141448
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                                                                 17-5048
 GLENDA L. TAYLOR,
     Defendant.                                                  JUDGE SMITH


                                CERTIFICATE OF SERVICE

I, Daniel L. Wilder., do certify that I have served the Defendant’s attorney with a true and

correct copy of the within and foregoing Motion for Summary Judgment by ECF Notice and

by depositing a copy of the same to each in the United States Mail in a properly addressed

envelope with adequate postage thereon to:

Ms. Kimberly E. Hall
Attorney for Defendant
PO Box 2538
Calhoun, GA 30703
       This 22nd day of December, 2017.

                                             /s/ Daniel L. Wilder
                                             Daniel L. Wilder
                                             State Bar No. 141448
                                             Attorney for Plaintiffs
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